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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
                              Case No.: 21-CV-21368-JAL

  DEMETRICE SPANN,
          Plaintiff,
  v.
  WALMART INC.,
       Defendant.
  _____________________________/

          JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

         By and through their respective counsel, DEMETRICE SPANN and

 WALMART, INC., pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby jointly

 stipulate to the dismissal of this action with prejudice.

 Respectfully submitted this 8th day of February, 2022.


 REMER & GEORGES-PIERRE,                  FORDHARRISON LLP
 PLLC

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